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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                CIVIL ACTION NO. 3:21-cv-00242
  Plaintiffs
                                                  JUDGE WENDY B. VITTER
VERSUS
                                                  MAG. JUDGE SCOTT D. JOHNSON
LOUISIANA STATE UNIVERSITY, ET AL.
  Defendants

                                          ORDER

       Considering the motion filed by Jennie Stewart requesting leave to file a supplemental

memorandum in support of her pending motion to dismiss;

       IT IS ORDERED that the motion is GRANTED. The clerk shall file the supplemental

memorandum into the record.

       New Orleans, Louisiana, this _____ day of November, 2022.



                     __________________________________________________
                           U.S. DISTRICT COURT JUDGE WENDY B. VITTER




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